
650 S.E.2d 441 (2007)
In re J.J.
No. 15A07.
Supreme Court of North Carolina.
July 24, 2007.
Jil Sanchez, for Gaston County DSS.
Laura Crawford, for Perry Bobbin.
Ed Bogle, for Guardian Ad Litem.
Wendy C. Sotolongo, Durham, for Mother.
The following order has been entered on the motion filed on the 23rd day of July 2007 by Respondent (Mother) for Extension of Time to File Brief:
"Motion Allowed. Respondent (Mother) shall have up to and including the 22nd day of August 2007 to file and serve his/her brief with this Court. By order of the Court in conference this the 24th day of July 2007."
HUDSON, J., recused.
